
57 So.3d 974 (2011)
DEPARTMENT OF REVENUE o/b/o Barbara RODRIGUEZ, Appellant,
v.
Ulises RODRIGUEZ, Appellee.
No. 3D10-456.
District Court of Appeal of Florida, Third District.
March 30, 2011.
Pamela Jo Bondi, Attorney General, and William H. Branch, Assistant Attorney General, for appellant.
*975 Anthony Dieguez, Miami Lakes, for appellee.
Before CORTIÑAS, ROTHENBERG, and LAGOA, JJ.
PER CURIAM.
Affirmed. See Lawrence v. Hershey, 890 So.2d 350 (Fla. 4th DCA 2004); Taylor v. Bonsall, 875 So.2d 705 (Fla. 5th DCA 2004); Brown v. Brown, 714 So.2d 475 (Fla. 5th DCA 1998).
